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                         UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT COURT
                              SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                    Plaintiff,                   Case No. 05-80031

v.                                               District Judge John Corbett O’Meara
                                                 Magistrate Judge R. Steven Whalen

LONDON DOTTERY,

                 Defedant.
_________________________________/

                   ORDER REGARDING PRETRIAL MOTIONS

      Defendant London Dottery has filed the following pretrial motions, which have been

referred for hearing and determination pursuant to 28 U.S.C. §636(b)(1)(A): (1) Motion to

Adopt Defendant Mario Taylor’s Pretrial Motions [Docket #116]; (2) Motion to Make 8-18-

05 Order Applicable to Defendant Dottery [Docket #126]; (3) Motion for Pretrial Disclosure

of Rule 404(b) Evidence [Docket #s 117 and 120]; (4) Motion for Early Return of Trial

Supboenas and Issuance Thereof In Forma Pauperis [Docket #118]; (5) Motion for

Preservation of Agent’s Rough Notes and Writings [Docket #119]. The Court having

reviewed the pleadings and having heard the argument of counsel on September 14, 2005,

      IT IS ORDERED that the Motion to Adopt Defendant Mario Taylor’s Motions

[Docket #116] and to Make 8-18-05 Order Applicable to Dottery are GRANTED.

      IT IS FURTHER ORDERED that Motion for Pretrial Disclosure of Rule 404(b)

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Evidence [Docket #s 117 and 120] is GRANTED.

       IT IS FURTHER ORDERED that the Motion for Early Return of Trial Subpoenas

[Docket #118] is DENIED WITHOUT PREJUDICE, as premature. Because counsel has

been appointed under the Criminal Justice Act, trial subpoenas for witnesses under

Fed.R.Crim.P. 17(b) must be ordered upon the Defendant’s ex parte application made at the

appropriate time, and they shall be. As to requests for document subpoenas under Rule 17

( c ), Defendant may, if he deems it necessary, make such a request for specific material so

long as it falls within the requirements set forth in United States v. Nixon, 418 U.S. 683

(1974).

       IT IS FURTHER ORDERED that the Motion to Preserve Agent’s Rough Notes and

Writings [Docket #119] is GRANTED.




                                          S/R. Steven Whalen
                                          R. STEVEN WHALEN
                                          UNITED STATES MAGISTRATE JUDGE

Dated: September 15, 2005

                              CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing order was served on the attorneys
and/or parties of record by electronic means or U.S. Mail on September 15, 2005.


                                          S/Gina Wilson
                                          Judicial Assistant


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